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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )        8:07CR259
                      Plaintiff,              )
                                              )
       vs.                                    )             ORDER
                                              )
RANDALL PARKER                                )
                                              )
                  Defendant.                  )

       At the initial appearance of the defendant on the charges contained in the indictment
on file, the United States moved to detain the defendant without bail pending trial on the
basis that he was a flight risk and a danger to the community. At the time of his initial
appearance before the court, the defendant was in the custody of Nebraska state authorities
on state charges. Accordingly,
       IT IS ORDERED:
       The government's motion for detention of Randall Parker pursuant to the Bail Reform
Act is held in abeyance pending the defendant's coming into federal custody.
       IT IS FURTHER ORDERED:
       The defendant, Randall Parker, having received notice of his return to the custody of
Nebraska state authorities pending the disposition of this matter and having waived an
opportunity for hearing in this matter pursuant to the Interstate Agreement on Detainers, 18
U.S.C. app § 9(2), the U.S. Marshal is authorized to return the defendant, Randall Parker, to
the custody of Nebraska state authorities pending the final disposition of this matter and the
U.S. Marshal for the District of Nebraska is directed to place a detainer with the correctional
officer having custody of the defendant.
       DATED this 5th day of September, 2007.
                                                    BY THE COURT:


                                                    s/ F. A. Gossett
                                                    United States Magistrate Judge
